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Date signed December 18, 2012




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                                   at Baltimore

                                 In re: Case No.: 12−27526 − NVA         Chapter: 7
      Gina Adams
      116 Water Fountain Way
      Unit 102                                            Creditor − SECU
      Glen Burnie, MD 21060
                                                          Reaffirmation − 20


                                        STATEMENT OF REVIEW

    The above identified Reaffirmation Agreement has been reviewed. It appearing that all requirements of 11 U.S.C.
§ 524 have been complied with, counsel for debtor has made the certification set forth in 11 U.S.C. § 524(c)(3), and
Part D of the Reaffirmation Agreement is completed in a manner not significantly disparate from the sworn
statements of the debtor in Schedules I and J and creates no presumption of undue hardship under 11 U.S.C. §
524(m). No hearing, determination, or order is required.




cc:     Debtor(s)
        Attorney for Debtor(s) − Lisa Buckner
        Chapter 7 Trustee − Monique D. Almy
        Creditor − SECU

                                                  End of Order
34.4 − laspivey
